 9:23-cv-06511-DCC         Date Filed 04/12/24    Entry Number 20      Page 1 of 8



                   IN THE DISTRICT COURT OF THE UNITED STATES

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                    BEAUFORT DIVISION


George D. Metz, II,                         )      C/A No. 9:23-cv-06511-DCC-KFM
                                            )
                           Plaintiff,       )      REPORT OF MAGISTRATE JUDGE
                                            )
          vs.                               )
                                            )
Michael Smith,                              )
                                            )
                           Defendant.       )
                                            )
                The plaintiff, a non-prisoner proceeding pro se and in forma pauperis, brings

this action seeking damages from the defendant. Pursuant to the provisions of 28 U.S.C.

§ 636(b), and Local Civil Rule 73.02(B)(2) (D.S.C.), this magistrate judge is authorized to

review all pretrial matters in this case and submit findings and recommendations to the

district court. The plaintiff’s complaint was entered on the docket on December 14, 2023

(doc. 1). By order filed January 9, 2024, the plaintiff was given a specific time frame in

which to bring his case into proper form for judicial screening (doc. 9). The plaintiff

complied with the court’s orders, and the case is now in proper form for judicial screening.

However, for the reasons that follow, it is recommended that this matter be dismissed.

                                        ALLEGATIONS

                The plaintiff alleges that the defendant violated his First, Fourth, and Fifth

Amendment Rights (doc. 1 at 5). The plaintiff, a self-identified “Journalist/Activist” alleges

that on May 26, 2022, he began recording public employees at the Hampton County Health

Department inside the building and was told he could not film inside the building (id. at 7).

The plaintiff then began filming outside the building and Ofc. Smith told him he could not

record inside of the building and requested that the plaintiff provide identification (id. at

7–8). The plaintiff refused to respond and Ofc. Smith threatened to arrest him (id. at 8).
 9:23-cv-06511-DCC        Date Filed 04/12/24      Entry Number 20       Page 2 of 8



The plaintiff contends that Ofc. Smith did not have reasonable suspicion to request the

plaintiff’s identification, violating his Fourth Amendment rights (id.). He further contends that

being forced to leave the area where he was recording violated his First Amendment rights

(id. at 8, 9). The plaintiff also contends that Ofc. Smith refusing to recognize his choice to

be silent pursuant to the Fifth Amendment (and not provide his identity to Ofc. Smith) also

violated his rights (id. at 8). For relief, the plaintiff seeks money damages (id. at 5). Filed

with the plaintiff’s complaint – and extensively referenced in the plaintiff’s complaint – the

plaintiff provide video footage of the incident in question (doc. 7). The video footage

indicates that after the plaintiff refused to leave or stop recording in the health department,

employees called 911, after which the defendant was dispatched to the health department

(id.).

                                  STANDARD OF REVIEW

              The plaintiff filed this action pursuant to 28 U.S.C. § 1915, the in forma

pauperis statute. This statute authorizes the District Court to dismiss a case if it is satisfied

that the action “fails to state a claim on which relief may be granted,” is “frivolous or

malicious,” or “seeks monetary relief against a Defendant who is immune from such relief.”

28 U.S.C. § 1915(e)(2)(B). As a pro se litigant, the plaintiff’s pleadings are accorded liberal

construction and held to a less stringent standard than formal pleadings drafted by

attorneys. See Erickson v. Pardus, 551 U.S. 89 (2007) (per curiam). The requirement of

liberal construction does not mean that the Court can ignore a clear failure in the pleading

to allege facts which set forth a claim cognizable in a federal district court. See Weller v.

Dep’t of Soc. Servs., 901 F.2d 387, 391 (4th Cir. 1990).

              This complaint is filed pursuant to 42 U.S.C. § 1983, which “‘is not itself a

source of substantive rights,’ but merely provides ‘a method for vindicating federal rights

elsewhere conferred.’” Albright v. Oliver, 510 U.S. 266, 271 (1994) (quoting Baker v.

McCollan, 443 U.S. 137, 144 n. 3 (1979)). A civil action under § 1983 “creates a private

                                               2
 9:23-cv-06511-DCC        Date Filed 04/12/24     Entry Number 20      Page 3 of 8



right of action to vindicate violations of ‘rights, privileges, or immunities secured by the

Constitution and laws’ of the United States.” Rehberg v. Paulk, 566 U.S. 356, 361 (2012).

To state a claim under § 1983, a plaintiff must allege two essential elements: (1) that a right

secured by the Constitution or laws of the United States was violated, and (2) that the

alleged violation was committed by a person acting under the color of state law. West v.

Atkins, 487 U.S. 42, 48 (1988).

                                        DISCUSSION

              As noted above, the plaintiff filed the instant action seeking damages from the

defendant (doc. 1). As set forth below, the plaintiff’s complaint is subject to summary

dismissal. As an initial matter, based on the recent Fourth Circuit published opinion,

Pendleton v. Jividen, the undersigned notes that the exhibit containing the plaintiff’s video

footage has been considered in the initial review of this matter based on the plaintiff’s

extensive reference to the footage in his complaint. See Pendleton v. Jividen, C/A No. 23-

6334, -- F.4th ---, 2024 WL 1183535 (4th Cir. 2024) (recognizing that exhibits may be

incorporated into the complaint by reference).

Fifth Amendment Claim

              The plaintiff alleges that his fifth amendment rights were violated because he

was required to give the defendant his identification (doc. 1 at 8). The Fifth Amendment

provides that no individual “shall be compelled in any criminal case to be a witness against

himself.” U.S. Const. amend. V. In Miranda v. Arizona, the United States Supreme Court

established procedural safeguards to ensure that a person is advised of his Fifth

Amendment rights when subjected to custodial interrogations. Miranda, 384 U.S. 436, 444

(1966). However, claims for money damages under the Fifth Amendment for Miranda

violations have been rejected. See Childress v. City of N. Charleston, C/A No. 2:21-cv-

02843-DCN-MGB, 2021 WL 9553006, at *6–7 (D.S.C. Dec. 6, 2021), Report and

Recommendation adopted by 2022 WL 4376865 (D.S.C. Sept. 22, 2022) (collecting cases

                                              3
 9:23-cv-06511-DCC        Date Filed 04/12/24      Entry Number 20       Page 4 of 8



rejecting a § 1983 claim for money damages based on the Fifth Amendment). Indeed,

failing to follow the procedural safeguards in Miranda with respect to the Fifth Amendment

triggers the exclusion of evidence in a criminal trial – “but does not violate any substantive

Fifth Amendment right such that a cause of action for money damages under § 1983 is

created”. Id. (internal quotation marks omitted) (quoting Jones v. Cannon 174 F.3d 1271,

1291 (11th Cir. 1999)). Further, fatal to the plaintiff’s reliance on the Fifth Amendment for

his claim, he has not alleged that his “statement” of having to identify himself to the

defendant was used against him in a criminal prosecution. As such, the plaintiff’s Fifth

Amendment claim is subject to summary dismissal.

Fourth Amendment Claim

              The plaintiff also contends that Ofc. Smith did not have reasonable suspicion

to request the plaintiff’s identification, violating his Fourth Amendment rights (id. at 8). The

Fourth Amendment protects against unreasonable searches and seizures. U.S. Const.

amend. IV. Brief investigative detentions (known as Terry stops) are considered a seizure

under the Fourth Amendment. Terry v. Ohio, 392 U.S. 1, 9 (1968). However, “[u]nder

well-established doctrine, a police officer may, consistent with the Fourth Amendment,

conduct a brief investigatory stop – known as a ‘Terry stop’ – predicated on reasonable,

articulable suspicion that ‘criminal activity may be afoot.’” United States v. Mitchell, 963 F.3d

385, 390 (4th Cir. 2020) (quoting Terry, 392 U.S. at 30). An officer must be able to point

to “specific and articulable facts” to justify an intrusion. Terry, 392 U.S. at 21. Reasonable

suspicion is an objective standard, United States v. Johnson, 734 F.3d 270, 275 (4th Cir.

2014), and in evaluating a situation, the court considers the totality of the circumstances,

United States v. Arvizu, 534 U.S. 266, 273 (2002). Here, as conceded by the plaintiff, the

defendant was dispatched to the health department after an employee called 911 and noted

that the plaintiff was videotaping unlawfully in the facility and refused to leave when told to

leave (doc. 1 at 7–8). As such, the behavior alleged by the 911 caller “viewed from the

                                               4
 9:23-cv-06511-DCC        Date Filed 04/12/24     Entry Number 20      Page 5 of 8



standpoint of an objectively reasonable police officer, amount[s] to reasonable suspicion”

for the defendant in this case; thus, the Terry stop of the plaintiff and request for

identification was proper. See Navarette v. California, 572 U.S. 393, 401–04 (2014) (finding

that a Terry stop was proper based on allegations in 911 call). As such, the plaintiff’s

Fourth Amendment claim is also subject to summary dismissal.

First Amendment Claims

              The plaintiff’s complaint also seeks damages for violations of his right to free

speech (because the plaintiff had to stop videotaping in the public area) and for retaliation

(see doc. 1). In evaluating a free speech claim, the court must first determine “whether the

plaintiff has engaged in protected speech.” Goulart v. Meadows, 345 F.3d 239, 246 (4th

Cir. 2003) (internal quotation marks and citation omitted). If the plaintiff has engaged in

protected speech, the court “must identify the nature of the forum, because the extent to

which the Government may limit access depends on whether the forum is public or

nonpublic.” Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S. 788, 797 (1985).

After identifying the type of forum, the court “must assess whether the justifications for

exclusion from the relevant forum satisfy the requisite standard.” Id. Here, the plaintiff’s

alleged “protected speech” is the right to record inside of the health department (a medical

facility) (doc. 1 at 7–9). The First Amendment protects the right to gather information about

what public officials do on public property; however, this right is subject to reasonable time,

manner, and place restrictions. See Hulbert v. Pope, 70 F.4th 726, 736–37 (4th Cir. 2023).

Indeed, although some Circuits have recognized a First Amendment right to record, those

cases all involve interactions with law enforcement (although the Fourth Circuit has yet to

recognize even a right to record law enforcement activity at this time). Sharpe v. Winterville

Police Dep’t, 59 F.4th 674, 683 (4th Cir. 2023). Here, the forum at issue is a medical facility

waiting room, wherein a sign is posted restricting videotaping because of patient privacy

concerns (see doc. 7 (video exhibit provided by plaintiff at time stamp 5:21)). Additionally,

                                              5
 9:23-cv-06511-DCC        Date Filed 04/12/24      Entry Number 20       Page 6 of 8



the plaintiff himself left the building because it was closing – he did not stop recording inside

based on the defendant’s arrival (see docs. 1 at 7–8; doc. 7). Further, as the plaintiff

concedes, the defendant told him he could not record inside the health department, and

placed him on trespass notice from the health department based on his refusal to stop

recording, but did not prevent all recording by the plaintiff – meaning that the request was

a reasonable time, place, and manner restriction. As such, even presuming the plaintiff’s

filming at the health department was a protected activity under the First Amendment, the

defendant did not violate his First Amendment rights by informing the plaintiff that he could

not record inside of the Health Department.           See Heffron v. Int’l Soc. for Krishna

Consciousness, Inc., 452 U.S. 640, 647 (1981) (noting that the “First Amendment does not

guarantee the right to communicate one’s views at all times and places or in any manner

that may be desired”). As such, the plaintiff’s first amendment free speech claim against

the defendant is subject to summary dismissal.

              The plaintiff also contends that his First Amendment rights were violated

based on “prior restraint” because the plaintiff was required to turn over his identification to

the defendant or he would be arrested (doc. 1 at 9). To state a plausible retaliation claim

under the First Amendment, a plaintiff must allege (1) engagement in protected activity, (2)

the defendant took some action that adversely affected his First Amendment rights, and (3)

there was a causal relationship between the protected activity and the defendant’s conduct.

See Raub v. Campbell, 785 F.3d 876, 885 (4th Cir. 2015). Here, the plaintiff claims that he

was only threatened with arrest for failing to provide identification because he was recording

at the health department (see doc. 1 at 9). However, as outlined above, the defendant

approached the plaintiff after being dispatched based on a 911 call about an individual

improperly videotaping inside a medical facility and refusing to leave; thus, he appropriately

asked the plaintiff to identify himself upon arriving at the scene. See Raub, 785 F.3d at 885

(noting that it “is not enough that the protected expression played a role or was a motivating

                                               6
 9:23-cv-06511-DCC        Date Filed 04/12/24      Entry Number 20      Page 7 of 8



factor in the retaliation; claimant must show that but for the protected expression the [state

actor] would not have taken the alleged retaliatory action”) (internal quotation marks and

citation omitted)). Moreover, “[t]hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice” to state a constitutional violation.

Ashcroft v. Iqbal, 556 U.S. 662, 681, 685 (2009). Further, as outlined above with respect

to the plaintiff’s Fourth Amendment claim, the defendant had reasonable suspicion to

request the plaintiff’s identification. As such, the plaintiff’s First Amendment claims are also

subject to summary dismissal.

                                    RECOMMENDATION

              The undersigned is of the opinion that the plaintiff cannot cure the defects

identified above by amending the complaint. Therefore, the undersigned recommends that

the district court dismiss this action with prejudice, without leave to amend, and without

issuance and service of process. See Britt v. DeJoy, 45 F.4th 790, 791 (4th Cir. 2022)

(published) (noting that “when a district court dismisses a complaint or all claims without

providing leave to amend . . . the order dismissing the complaint is final and appealable”).

The attention of the parties is directed to the important notice on the next page.

              IT IS SO RECOMMENDED.

                                                          s/Kevin F. McDonald
                                                          United States Magistrate Judge
April 12, 2024
Greenville, South Carolina




                                               7
 9:23-cv-06511-DCC        Date Filed 04/12/24     Entry Number 20      Page 8 of 8



         Notice of Right to File Objections to Report and Recommendation

              The parties are advised that they may file specific written objections to this
Report and Recommendation with the District Judge. Objections must specifically identify
the portions of the Report and Recommendation to which objections are made and the
basis for such objections. “[I]n the absence of a timely filed objection, a district court need
not conduct a de novo review, but instead must only satisfy itself that there is no clear error
on the face of the record in order to accept the recommendation.” Diamond v. Colonial Life
& Acc. Ins. Co., 416 F.3d 310 (4th Cir. 2005) (quoting Fed. R. Civ. P. 72 advisory
committees note).

              Specific written objections must be filed within fourteen (14) days of the date
of service of this Report and Recommendation. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P.
72(b); see Fed. R. Civ. P. 6(a), (d). Filing by mail pursuant to Federal Rule of Civil
Procedure 5 may be accomplished by mailing objections to:

                                  Robin L. Blume, Clerk
                               United States District Court
                            250 East North Street, Room 2300
                             Greenville, South Carolina 29601

             Failure to timely file specific written objections to this Report and
Recommendation will result in waiver of the right to appeal from a judgment of the
District Court based upon such Recommendation. 28 U.S.C. § 636(b)(1); Thomas v.
Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); United States v.
Schronce, 727 F.2d 91 (4th Cir. 1984).




                                              8
